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8                             UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

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11   MICHAEL L. A. 1, an Individual,              Case No.: 2:20-04918 ADS

12                       Plaintiff,

13                       v.                       JUDGMENT OF REMAND

14   KILOLO KIJAKAZI2, Acting
     Commissioner of Social Security,
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                         Defendant.
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     1 Plaintiff’s name has been partially redacted in compliance with Federal Rule of Civil
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     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
     Administration and Case Management of the Judicial Conference of the United States.
22   2 The Complaint, and thus the docket caption, do not name the current Acting

     Commissioner. The parties list Andrew M. Saul as the Commissioner in the Joint
23
     Stipulation. On July 9, 2021, Kijakazi became the Acting Commissioner of Social
     Security. Thus, he is automatically substituted as the defendant under Federal Rule of
24
     Civil Procedure 25(d).


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 1         In accordance with the Memorandum Opinion and Order, Dkt. No. 25, filed

 2   concurrently herewith,

 3         IT IS ORDERED AND ADJUDGED that the decision of the Commissioner of

 4   Social Security is reversed and the matter is remanded to the Commissioner for further

 5   proceedings consistent with the Memorandum Opinion and Order of Remand.

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 7   DATE: October 26, 2021

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                                            /s/ Autumn D. Spaeth
 9                                    THE HONORABLE AUTUMN D. SPAETH
                                      United States Magistrate Judge
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